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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
6
7
8                                         UNITED STATES DISTRICT COURT
9                                         EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                       )   Case No. 2:12-cr-185 TLN
                                                     )
11                                Plaintiff,         )   STIPULATION AND ORDER TO CONTINUE
                                                     )   STATUS CONFERENCE TO NOVEMBER 20,
12          v.                                       )   2014, AT 9:30 A.M.
                                                     )
13   ROBB CHEAL,                                     )   Date: October 16, 2014
     RYAN CHEAL,                                     )   Time: 9:30 a.m.
14   ROBERT CARRILLO                                 )   Judge: Hon. Troy L. Nunley
     NADEEM KHAN,                                    )
15                                                   )
                                  Defendants.        )
16                                                   )
17
18            The parties stipulate, through respective counsel, that the Court should continue the status
19   conference set for October 16, 2014, at 9:30 a.m., to November 20, 2014, at 9:30 a.m.
20            Defense counsel require the continuance to consult with their clients about discovery, and
21   to conduct investigation. Defense counsel also require further time to meet and consult with
22   each other. Finally defense counsel require further time to meet and confer with their clients
23   regarding plea agreements that the government has proposed, and propose counter offers to the
24   government.
25            Counsel and the defendants agree that the Court should exclude the time from today
26   through November 20, 2014, when it computes the time within which trial must commence
27   under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
28

      Stipulation and Order to Continue                  -1-                                  2:12-cr-185 TLN
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1             Counsel and the defendants also agree that the ends of justice served by the Court
2    granting this continuance outweigh the best interests of the public and the defendants in a speedy

3    trial.

4    DATED: October 9, 2014                        HEATHER E. WILLIAMS
                                                   Federal Defender
5
                                                   /s/ M.Petrik__________
6                                                  MICHAEL PETRIK, Jr.
7                                                  Assistant Federal Defender
                                                   Attorneys for Robb Cheal
8
9    DATED: October 9, 2014
10
                                                   /s/ M.Petrik for_______
11                                                 CHRIS COSCA
                                                   Attorney for Ryan Cheal
12
13   DATED: October 9, 2014
14
                                                   /s/ M.Petrik for_______
15                                                 OLAF HEDBERG
                                                   Attorney for Robert Carrillo
16
17   DATED: October 9, 2014
18
                                                   /s/ M.Petrik for_______
19                                                 THOMAS A. JOHNSON
                                                   Attorney for Nadeem Khan
20
21
     DATED: October 9, 2014                        BENJAMIN B. WAGNER
22                                                 United States Attorney

23                                                 /s/ M.Petrik for_______
                                                   JASON HITT
24                                                 Assistant U.S. Attorney
25
26
27
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      Stipulation and Order to Continue              -2-                                    2:12-cr-185 TLN
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1                                                ORDER
2             The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendants in a speedy trial.
8             The Court orders the status conference rescheduled for November 20, 2014, at 9:30 a.m.
9    The Court orders the time from the date of the parties stipulation, up to and including November
10   20, 2014, excluded from computation of time within which the trial of this case must commence
11   under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
12   Dated: October 14, 2014
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15                                                    Troy L. Nunley
                                                      United States District Judge
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      Stipulation and Order to Continue               -3-                                     2:12-cr-185 TLN
